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                                    Thursday, 14 March, 2019 03:59:58 PM
                                                    EXHIBIT
                                            Clerk, U.S.           B ILCD
                                                        District Court,
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                         s/Jacob Dalton

                        s/Kendra Wolf
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                                     s/Michael Melvin



s/DOC Employee
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                                  s/Cooley




                                     s/Fishel




                                 s/Gooding


                                      s/DOC Employee




s/DOC Employee                                                s/DOC Employee
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